                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :          CRIMINAL NO. 22-cr-00323-GJP-1
                                               :
               v.                              :
                                               :
     MARK HOUCK                                :

                              CONDITIONS OF RELEASE ORDER

                                                   BAIL

Defendant is released on bail in the amount of: $ 10,000
           X O/R
                cash
                 secured by:
                        % cash
                        property at:
                       Clerk’s office requirements are not waived. Execute an Agreement to Forfeit
the Property stated above with a copy of the deed as indicia of ownership.

                                      PRETRIAL SERVICES

 X             Defendant shall report to Pretrial Services:
                 X     as directed by Pretrial Services.
                       times per week in person.
                       times per week via telephone.

      Defendant shall attend mental health services under the guidance and supervision of Pretrial
      Services.
      Defendant shall submit to random drug testing as directed by Pretrial Services.
_____ Defendant shall refrain from excessive use of alcohol or from any use of a narcotic drug or
      other controlled substance, as defined in Section 102 of the Controlled Substances Act, 21
      U.S.C. § 802, without a prescription by a licensed medical practitioner.
      Defendant shall undergo drug/alcohol treatment if necessary as determined by Pretrial
      Services.
      Defendant shall submit to location monitoring at the following address:


       _____________________________________________________________________


                This Court, based upon evidence that Defendant has adequate financial resources,
       finds that he/she shall pay all or part of the cost of the court-ordered monitoring program, in an
       amount to be specified by Pretrial Services.

              Curfew. You are restricted to your residence every day from_______ to ________,
       during which electronic monitoring will be in place, or as directed by the pretrial services
       office or supervising officer.
        Home Detention. You are restricted to your residence at all times except for
employment; education; religious services; medical, substance abuse, or mental health
treatment; attorney visits; court appearances; court-ordered obligations; or other activities
approved in advance by the pretrial services office or supervising officer;

         Home Incarceration. You are restricted to 24-hour-a-day lock-down at your
residence except for medical necessities and court appearances or other activities
specifically approved by the court.

                                    PASSPORT

   X    Defendant shall surrender and/or refrain from obtaining a passport.

                                     TRAVEL

   X Travel is restricted to the Eastern District of Pennsylvania.
     Travel is restricted to the ________________________________________.
   X Unless prior permission is granted by Pretrial Services.

                                    FIREARMS

   X   Defendant shall surrender and/or refrain from obtaining any firearms. Any other
       firearms in any premises where the defendant resides while on supervised release must
       be removed from the premises and no firearms are to be brought into the premises
       during this period. The defendant shall execute a completed Prohibition on Possession
       of Firearms Agreement.

                                MISCELLANEOUS

   X   Defendant shall have no contact with co-defendants, potential witnesses in this case,
      or individuals engaged in any criminal activity.
       Defendant must maintain present employment.
       Defendant must actively seek gainful employment.
______ Defendant shall undergo a mental competency evaluation.
   X Defendant must reside:

               at:    1848 Stony Garden Road, Kintnersville, PA 18930


               with: ______________________________________________

                            COMPUTERS/INTERNET

       The Defendant is subject to the following computer/internet restrictions which are to
be monitored by U.S. Pretrial Services and may include manual inspection, use of minimally
invasive internet detection devices, and/or installation of computer monitoring software to
insure compliance with the imposed restrictions.
         No computer: The Defendant is prohibited from possession and/or use of any
computers and connected devices.

        Computer, no internet access: The Defendant is permitted use of computers or
connected devices, but is not permitted access to the Internet (as World Wide Web, FTP sites,
IRC servers, instant messaging).

        Computer with internet access: The Defendant is permitted use of computers or
connected devices, is permitted access to the internet for legitimate purposes, and is
responsible for any fees connected with the installation and use of monitoring software.

         Other Residents: By consent of other residents, all computers located at the address
of record shall be subject to inspection to insure the equipment is password protected.

     X Other Restrictions: Houck shall refrain from engaging in protesting and/or
sidewalk counseling at the Planned Parenthood – Elizabeth Blackwell Health Center located at
1100 Locust Street, Philadelphia, PA.

OTHER CONDITIONS:

As a further condition of release, defendant shall not commit a Federal, State, or local crime
during the period of release. The commission of a Federal offense while on pretrial release
will result in an additional sentence of a term of imprisonment of not more than 10 years, if the
offense is a felony; or a term of imprisonment of not more than 1 year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.

Any violation of the conditions of release may result in revocation of bail, immediate
issuance of an arrest warrant, imprisonment pending trial, and an additional term of
imprisonment of up to 10 years, if the violation is a felony, and up to one year, if the
violation is a misdemeanor.



/s/ Anita Eve
AUSA                                                   DEFENSE ATTORNEY




It is so ORDERED this 23rd          day of September      , 2022.

                               BY THE COURT:


                                s/Richard A. Lloret
                               RICHARD A. LLORET
                               UNITED STATES MAGISTRATE/DISTRICT JUDGE
